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 5   E-Mail: laurel.hoehn@cc.sbcounty.gov
 6   Attorneys for Defendant, County of San Bernardino
 7

 8                            UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10

11   JANE DOE, an individual,                 Case No. 5:20-cv-01135-JGB-KKx
12                    Plaintiff,
                                               NOTICE OF MOTION AND
13                       v.                    MOTION TO QUASH SERVICE
14   COUNTY OF SAN BERNARDINO,                 AND/OR DISMISS FOR
     JULIO GARCIA, PROBATION                   INSUFFICIENT SERVICE OF
15
     OFFICER RUTLEDGE, YBON                    PROCESS; MEMORANDUM OF
16   CORTA, and DOES 1 through 10,             POINTS AND AUTHORITIES IN
     inclusive,                                SUPPORT THEREOF
17
                   Defendants.                 [FED. R. CIV. P. 12(b)(5)]
18
19                                            Date:       August 3, 2020
                                              Time:       9:00 a.m.
20                                            Ctrm.:      1
21

22                                            Assigned to:
                                              Honorable Jesus Bernal
23                                            United States District Judge
24                                            Referred to:
25                                            Honorable Kenly Kiya Kato
                                              United States Magistrate Judge
26

27
           TO ALL PARTIES AND THEIR RESPECTIVE COUNSEL OF RECORD:
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                                           1
                         NOTICE OF MOTION AND MOTION TO QUASH
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 1         PLEASE TAKE NOTICE that on August 3, 2020 at 9:00 a.m., or soon thereafter
 2   as may be heard in Courtroom 1 of the United States Courthouse located at 3470 Twelfth
 3   Street, Riverside, CA 92501, Defendants JULIO GARCIA, PROBATION OFFICER
 4   RUTLEDGE, and YBON CORTA (collectively “Defendants”) will specially appear
 5   through counsel and hereby move this Court for an order quashing service and
 6   dismissing this action against them pursuant to Federal Rules of Civil Procedure, Rule
 7   12(b)(5). Defendant’s Motion is based upon this Notice of Motion, the following
 8   Memorandum of Points and Authorities, Declaration of Lisa Arredondo, the Complaint,
 9   and such additional matters as may be judicially noticed or properly before this Court to
10   or at the hearing on this matter.
11         On June 22, 2020, Defendant County of San Bernardino’s counsel, Deputy County
12   Counsel Laurel A. Hoehn, wrote to Plaintiff’s counsel in an attempt to meet and confer
13   regarding the lack of proper service on the individuals pursuant to Local Rule 7-3.
14   Plaintiff’s counsel wrote back on or about June 24, 2020, expressing disagreement about
15   the lack of service and believing service on the individuals was proper. No resolution
16   could be achieved and thus, this motion is necessary.
17   DATED: June 30, 2020                   Respectfully submitted,
18                                          MICHELLE D. BLAKEMORE
                                            County Counsel
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21
                                           /s/ Laurel A. Hoehn
                                           LAUREL A. HOEHN
22                                         Deputy County Counsel
                                           Attorneys for Defendant
23
                                           County of San Bernardino
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 1                  MEMORANDUM OF POINTS AND AUTHORITIES
 2                                                I.
 3                                      INTRODUCTION
 4         On or about June 10, 2020, Plaintiff attempted to serve the Summons and
 5   Complaint in this matter on all four named defendants, COUNTY OF SAN
 6   BERNARDINO, JULIO GARCIA, PROBATION OFFICER RUTLEDGE, and YBON
 7   CORTA, by dropping four copies on the Clerk of the Board via receptionist, Lisa
 8   Arredondo. While Ms. Arredondo has authority to accept service on behalf of the
 9   County of San Bernardino, she lacks any such authority to accept service on behalf of
10   the individual defendants, Garcia, Rutledge, and/or Corta, as is reflected in the filed
11   proofs of service for each. (Docket 11-14.) Accordingly, the alleged service on
12   Defendants JULIO GARCIA, PROBATION OFFICER RUTLEDGE, and YBON
13   CORTA was defective and despite filing proofs of service, proper service has not
14   actually been obtained by Plaintiff. Therefore, the service should be quashed pursuant to
15   Fed. R. Civ. P. 12(b)(5).
16                                               II.
17                         FACTS AND PROCEDURAL HISTORY
18         The Complaint was filed on June 2, 2020 (Docket 1.) A 21-day Summons was
19   issued on June 3, 2020 as to Defendants COUNTY OF SAN BERNARDINO, JULIO
20   GARCIA, PROBATION OFFICER RUTLEDGE, and YBON CORTA. (Docket 9.)
21   Thereafter, on June 10, 2020, an individual delivered four (4) copies of the Summons
22   and Complaint in this matter to the receptionist, Lisa Arredondo, of the Clerk of the
23   Board, located at 385 N. Arrowhead Ave., San Bernardino, CA. (Declaration of Lisa
24   Arredondo, ¶ 3, filed concurrently herewith and hereinafter referred to as “Arredondo
25   Dec.”.)
26         Ms. Arredondo does not have authority to accept service on behalf of JULIO
27   GARCIA, PROBATION OFFICER RUTLEDGE, and/or YBON CORTA. (Arredondo
28   Dec., ¶¶ 4.) At the time of the attempted service, Ms. Arredondo informed the individual
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 1   that she was not authorized to accept anything other than what was being served on the
 2   County of San Bernardino. The individual asked Ms. Arredondo whether she knew
 3   where he could serve the individual defendants, JULIO GARCIA, PROBATION
 4   OFFICER RUTLEDGE, and/or YBON CORTA. She responded that he would need to
 5   get that information from the company he works for and that she could not disclose that
 6   information. The individual then left the premises. (Arredondo Dec., ¶¶ 5, 6.)
 7         On June 24, 2020, Plaintiff filed four proofs of service, claiming service on the
 8   County of San Bernardino, GARCIA, RUTLEDGE, and YBON via service on Lisa
 9   Arredondo, who was designated to accept service on behalf of the County of San
10   Bernardino, only. (Docket 11, 12, 13, and 14.) This is not proper service of the
11   individuals and specially appearing defendants hereby request a court order to quash the
12   insufficient attempt at service of process and to dismiss the Complaint as against them
13   for the reasons stated further below.
14                                               III.
15                                           STANDARD
16         Federal Rules of Civil Procedure, Rule 12(b)(5) permits a challenge to the method
17   of service attempted by a plaintiff. If a Rule 12(b)(5) motion is granted, the court may
18   dismiss the improperly served defendants and/or the entire action. Montalbano v. Easco
19   Hand Tools, Inc., 766 F.2d 737, 740 (2d Cir. 1985); see also Marshall v. Warwick, 155
20   F.3d 1027, 1030 (8th Cir. 1998). Unless a plaintiff properly serves a defendant with
21   summons and complaint, the court lacks personal jurisdiction over that defendant.
22   Jackson v. Hayakawa, 682 F.2d 1344, 1347 (9th Cir. 1982). Neither actual notice of the
23   complaint, nor simply naming the defendant in the caption, subjects a defendant to
24   personal jurisdiction absent service that complies with Rule 4, Ibid.
25         Where the validity of service is contested by a Rule 12 motion, the burden is on
26   plaintiff as the party claiming proper service has been effected, to establish the validity
27   of service. Norlock v. City of Garland, 768 F.2d 654, 656 (5th Cir. 1985).
28   ///
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 1                                                IV.
 2                                          ARGUMENT
 3         A.     DUE TO THE INSUFFICIENCY OF SERVICE, THE COURT
 4                MUST QUASH THE DEFECTIVE SERVICE OF PROCESS ON
 5                GARCIA, RUTLEDGE, AND CORTA AND DISMISS THE
 6                COMPLAINT AS TO THEM PURSUANT TO FED. R. CIV. P.
 7                12(b)(5).
 8         A Court may dismiss a complaint for ineffective services of process pursuant to
 9   Fed. R. Civ. P., Rule 12(b)(5) if the plaintiff fails to establish that he or she has properly
10   effectuated serviced pursuant to Rule 4. Light v. Wolf, 816 F.2d 746, 751 (D.C.
11   Cir.1987). A motion to dismiss for insufficiency of service of process is the proper
12   vehicle for challenging the mode of delivery or lack of delivery of summons and
13   complaint. Wasson v. Riverside County, 237 F.R.D. 423, 424 (C.D. California 2006)
14   “The party on whose behalf service is made has the burden of establishing its validity
15   when challenged; to do so, he must demonstrate that the procedure employed satisfied
16   the requirements of the relevant portions of Rule 4 and any other provision of
17   law.” Light v. Wolf, supra, 816 F.2d at 751.
18         “A federal court does not have jurisdiction over a defendant unless the defendant
19   has been served properly under Fed. R. Civ. P. 4.” Direct Mail Specialists, Inc. v. Eclat
20   Computerized Tech., 840 F.2d 685, 688 (9th Cir. 1988), stating that “Rule 4 is a flexible
21   rule that should be liberally construed so long as a party receives sufficient notice of the
22   complaint.” Id. (citation and internal quotations omitted). “Nonetheless, without
23   substantial compliance with Rule 4, neither actual notice nor simply naming the
24   defendant in the complaint will provide personal jurisdiction.” Id. (citations and internal
25   quotations omitted.)
26         In pertinent part, Rule 4(e) permits an individual to be served with the summons
27   and complaint (1) pursuant to the state law in the state where the district court is located
28   or (2) by personal delivery, leaving a copy at the individual’s dwelling or usual place of
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 1   abode with someone of suitable age and discretion who resides there, or delivering a
 2   copy to an authorized agent. Fed. R. Civ. P. 4(e).
 3         California Code of Civil Procedure §§ 415.10 and 415.20 set forth the manner of
 4   service of process on an individual, such as GARCIA, RUTLEDGE, and CORTA.
 5   California C.C.P. § 415.10 authorizes service by personal delivery of a copy of the
 6   summons and complaint to the person to be served. California C.C.P. § 415.20 allows
 7   substituted service by leaving a copy of the summons and complaint during usual office
 8   hours and thereafter mailing a copy to the person with whom it was left.
 9         Here, plaintiff attempted to effectuate service of process on GARCIA,
10   RUTLEDGE, and CORTA by delivering copies of the summons and complaint to the
11   Clerk of the Board of the County of San Bernardino. (Arredondo Dec., ¶ 3.) Ms.
12   Arredondo did not have authority to accept and even told the process server that she was
13   not authorized to accept service on behalf of GARCIA, RUTLEDGE, and CORTA.
14   (Arredondo Dec., ¶¶ 3-5.) This method of service was not effective according to
15   Federal Rules of Civil Procedure or California law because none of the individuals were
16   personally served with the summons and complaint.
17         Further, the summons and complaint was not delivered to a person apparently in
18   charge of the individual defendants’ place of business and subsequently mailed to the
19   individual defendants. The declaration of Ms. Arredondo establishes that as the
20   receptionist for the Clerk of the Board, she was not in charge of GARCIA, RUTLEDGE,
21   and CORTA and articulated the same to the process server. To date, she has not
22   received a copy of the summons and complaint via U.S. mail. (Arredondo Dec., ¶ 6.)
23   Neither actual notice of the complaint nor simply naming them in the caption subjects
24   defendants like GARCIA, RUTLEDGE, and CORTA to personal jurisdiction absent
25   service that complies with Rule 4. Jackson v. Hayakawa, supra, 682 F.2d at 1347.
26         Service of process should be quashed, and GARCIA, RUTLEDGE, and CORTA
27   should be dismissed from this action due to Plaintiff’s failure to properly serve the
28   Summons and Complaint.
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 1                                              V.
 2                                      CONCLUSION
 3         In light of the foregoing, specially appearing defendants, GARCIA, RUTLEDGE,
 4   and CORTA, respectfully request the Court quash Plaintiff’s ineffective attempt at
 5   service of process and dismiss any and all claims against them based on the same.
 6   DATED: June 30, 2020                  Respectfully submitted,
 7                                         MICHELLE D. BLAKEMORE
                                           County Counsel
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10
                                           /s/ Laurel A. Hoehn
                                           LAUREL A. HOEHN
11                                         Deputy County Counsel
                                           Attorneys for Defendant
12
                                           County of San Bernardino
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 1                                      PROOF OF SERVICE
 2
             I am employed in the County of San Bernardino, State of California. I am a citizen
 3    of the United States, employed in the County of San Bernardino, State of California, over
 4
      the age of 18 years and not a party to nor interested in the within action. My business address
      is 385 North Arrowhead Avenue, Fourth Floor, San Bernardino, CA 92415-0140.
 5

 6        On June 30, 2020, I served the following documents (specify): NOTICE OF
      MOTION AND MOTION TO QUASH SERVICE AND/OR DISMISS FOR
 7    INSUFFICIENT SERVICE OF PROCESS; MEMORANDUM OF POINTS AND
 8    AUTHORITIES IN SUPPORT THEREOF [FED. R. CIV. P. 12(b)(5)]

 9          I served the documents on the persons below, as follows:
10
       Sharon J. Brunner, Esq.                        James S. Terrell, Esq.
11     Law Office of Sharon J. Brunner                Law Office of James S. Terrell
12     14393 Park Avenue, Suite 100                   15411 Anacapa Road
       Victorville, CA 92392                          Victorville, CA 92392
13     T: 760-243-9997                                T: 760-951-5850
14     F: 760-843-8155                                F: 760-952-1085
       Attorney for Plaintiff                         Attorney for Plaintiff
15

16          The documents were served by the following means:

17    X      By United States Mail. I enclosed the documents in a sealed envelope or package
18    addressed to the persons at the addresses listed above and placed the envelope for collection
      and mailing, following our ordinary business practices. I am readily familiar with this
19    business’s practice for collecting and processing correspondence for mailing. On the same
20    day that correspondence is placed for collection and mailing, it is deposited in the ordinary
      course of business with the United States Postal Service, in San Bernardino, California, in a
21    sealed envelope with postage fully prepaid.
22
            I am a resident or employed in the county where the mailing occurred. The
23    envelope or package was placed in the mail at San Bernardino, California.
24
             I declare under penalty of perjury under the laws of the United States of America,
25    that the above is true and correct.
26
      DATED: June 30, 2020                            /s/ Alejandra Ramirez
27                                                    ALEJANDRA RAMIREZ, Declarant
28
                                               8
                             NOTICE OF MOTION AND MOTION TO QUASH
